Kelly H. Macfarlane 5213
KELLY H. MACFARLANE, PLLC.
205 26th St. Suite 21
Ogden, Utah 84401
Telephone: (801) 364-3724
Facsimile: (801) 315-1104
kelly@macfarlanelegalworks.com
Attorney for Plaintiffs
                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE CENTRAL DISTRICT OF UTAH

 ASHLEE M. LOOSLE,                               )      CIVIL DIVISION
                                                 )
                               Plaintiff,         )
                                                         CASE NO.:                         _
        V.                                       )
                                                 )
 GENERAL MOTORS, L.L.C.1                         )      JURY TRIAL DEMANDED
                                                 )
                               Defendant.        )




                                            COMPLAINT

        Plaintiff, Ashlee M. Loosle, and the law firm of Kelly H. Macfarlane, PLLC., and files

 the following Complaint and in support thereof avers as follows:




                                             PARTIES
        1.    Plaintiff, Ashlee M. Loosle is a citizen of the State of Utah, Salt Lake County and

 currently resides in Sandy, Salt Lake County, Utah..

        2.      Defendant, General Motors, L.L.C. ('•GM''), is a Delaware limited liability

 company doing business throughout the United States with its principal place of business at

 Detroit, Michigan GM engages in business within the State of Utah and is
the successor corporation to General Motors Corporation (' GMC").              After the latter's

bankruptcy and through an asset sale from GMC to GM, GM assumed the liabilities of GMC as

set forth herein.




                                        JURISDICTION
        3.      Plaintiff Ashlee M. Loosle was at all times relevant to this complaint, a citizen

of the State of Utah - Defendant GM is a citizen of the State of Delaware with its principal

place of business in the State of Michigan. This Court thus has original subject matter

jurisdiction over this case pursuant to 28 U.S.C. § 1332 (diversity), 18 U.S.C. § 1964-{c)

and 28 U.S.C. § 1367 (ancillary jurisdiction). The amount in controversy without interest

and    costs, exceeds     the   sum    or    v alue   specified   by 28 U.S.C. § 1332, i.e.,

$75,000.00.

        4.      Venue is proper in this District in that GM is subject to personal jurisdiction in

this District and a substantial part of the events giving rise to this claim occurred within this

District.




                                              FACTS
        5.      On June 3, 2020, Ashlee M. Loosle, was driving her 2013 Chevrolet Spark on 11th

Avenue in Salt Lake City next to a cemetery on her way to visit a friend.

        6.      The 2013 Chevrolet Spark had been purchased in 2016 from Larry H. Miller Used Car

Supermarket in Sandy, Utah by Plaintiff.




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        7.         The 2013 Chevrolet Spark was driven by Plaintiff for about 3 years until the date of

the loss and on occasion had the car turn off to the ACC position when she would drive into her

driveway and the low lip of the curb would jostle the key to the off position. She took the vehicle to

her authorized dealer and was told they could find nothing wrong with the ignition or the car .

        8.         The 2013 Chevrolet Spark was equipped with an automatic transmission.

        9.         Plaintiff was about 5' 2'' tall and weighed approximately 120 pounds.

        10.       On June 3, 2020, Ashlee was operating the 2013 Chevrolet Spark West on 11th

Ave. next to the Salt Lake City Cemetery at about 11:50 p.m. when s he approached an

intersection with the configuration of a 11T'' with her roadway turning slightly left.

        11. Ashlee was operating the vehicle at or below the speed limit and was wearing her

shoulder/lap belt.

        12.        As she approached the turn in the roadway at the T intersection, the 2013

Chevrolet Spark went out of control and crashed into a light pole located on the south side of south

side of 11th Avenue.

        13.        Because of the defects alleged herein, the key in the 2013 Chevrolet Spark turned from

the on position, to accessory/off position 3 or more seconds before the crash, causing the engine to

shut off.

        14.        As a result of the engine shutting down, Ashlee lost control of the 2013 Chevrolet

Spark which traveled across the roadway on 11th Avenue to her left, failed to negotiate the turn

and collided with the light pole on her left-hand side.

            15.    Because of the additional defects set forth herein, the airbags located in the

2013 Chevrolet Spark failed to deploy at the appropriate time of the crash and the seat belt

also allowed Ashlee to be thrown forward into the windshield causing her to go unconscious

until police arrived.


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          16.   Ashlee suffered   a   traumatic brain injury during the crash and continues to suffer

from effects of the head injury. She also cut her wrist and had dashboard knee, sprained ankle

from trying to brake and compression fractures to her thoracic spine at T3-T5, with up to 35%

compression of the vertebrae.

          17.   As early as 2004, GM engineers determined that the type of ignition switch used

on 2006 Saturn Ion's like that involved in this crash was so weak and positioned so low on the

steering column that the driver's knee could easily bump the key and turn off the engine.

          18.   GM also recognized that the position of the ignition switch was such that any key

chain or other device hanging from the key could be caught between the driver's knee and the

steering column, also causing the key to move from the run to accessory/off position stopping the

engine.

          19.   The ignition in the 2013 Chevrolet Spark also has a detent torque that is so low that

the key can readily be inadvertently turned from the run to the accessory/off position. (Detent

torque refers to the amount of force required to overcome the resistance built into the ignition

switch to move the key from run or on to the accessory or off position).

          20.   The low detent force and correspondingly low contact force required to

inadvertently turn the key on the 2013 Chevrolet Spark from run to accessory/off was known in

2003 - years before the subject vehicle was manufactured and nearly two decades before the

crash in this case.

          21.   During development and testing of the 2013 Chevrolet Spark GM learned that engines

were being shut down during operation as the result of defects in the key/ignition system.

Nonetheless, no action was taken to correct this dangerous defect.

22.             By 2004, as set forth above, GM engineers had recognized that the ignition switch

detent force on the 2013 Chevrolet Spark and other models was so weak and was placed in such

                                                    4
a vulnerable position that in January 2004 as part of its evaluation program an engineer

employed by Defendant GM stated in reference to the ignition switch and its placemen that:

"[tjhis is a basic design flaw and should be corrected if we want repeat sales."

       23.      Notwithstanding its growing knowledge of the sinister nature of the ignition

switch and key arrangement in the 2013 Chevrolet Spark, GM began manufacturing and selling

the Chevrolet Cobalt with an identical key system first used in the 2005 Chevrolet Cobalt.

       24.     In 2004, one of GM's employees, Gary Altman, its Program Engineering

Manager for the Cobalt, test drove a 2005 Cobalt with the standard key and key fob and during

the test drive, Altman1s knee bumped the key, the engine turned off and caused the vehicle to

stall - this incident was reported by Altman to Defendant GM on or about October 29, 2004.

       25.      Altman's report led to an investigation referred to within GM as a Problem

Resolution Tracking System inquiry (PRTS) - the description of the complaint that occasioned

the PRTS was that "the vehicle can be keyed off with knee while driving."

       26.      On February 1, 2005, as part of the PRTS, GM engineers concluded:

                There are two main reasons that lsic] we believe can cause a lower effort
                in turning the key: 1 . A low torque detent in the ignition switch. 2. A low
                position of the lock module in the column. (PRTS - Complete Report
                Nl724-04).

        27.     By early 2005, GM engineers concluded that both the position and the low torque

detent in the ignition switch allowed the key to be shut off, disabling the engine, with little effort.

        28.     As a result GM engineers began examining ways to prevent the key in the 2013

Chevrolet Spark and Chevrolet Cobalt from being moved from the run to accessory/off position.

        29.     GM's engineers determined that the only sure solution to fix the problem of

inadvertent key contact required changing the key mount from a low to a high position, which




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would almost eliminate the possibility of the key or fob being inadvertently contacted by a

driver.

          30.   In addition, GM engineers determined that additional detent force would be

required to ensure that the key or key fob was not inadvertently moved even in the high mount

position to accessory or off by a driver.

          31.   This sure and safe solution proposed in 2005 – w e l l before the vehicle which

injured Ashlee was manufactured, was rejected in part because the cost to GM to implement the

solution would be too high.

          32.   GM also considered modifying the opening in the top of the key from a slot (its

original configuration) to a very small hole, an effort to change the leverage exerted on the key

and an attempt to prevent a key fob from hanging low enough to contact a driver1s knee during

normal operation.

          33.   Although this supposed cure would not be a total solution to the problem, it would

eliminate some risk and reduce the chance of inadvertent key movement from run to the

accessory/off position.

          34.   The cost for implementing this solution was less than $1.00 per vehicle but was

rejected by GM along with the other measures to correct this dangerous problem because "none

of the solutions represents an acceptable business case" - in short, GM rejected every solution

including that of simply changing the key to save money and allow literally millions of persons

to be exposed to needless danger:

                Per GMXOOl GM's [Gary Altman] directive we are closing this PRTS
                with no action. The main reasons are as following: All possible solutions
                were presented to CPIT and VAPIR: a. The lead-time for all solutions is
                too long. b. The tooling cost and piece price are too high. c. None of the
                solutions seem to fully countermeasure the possibility of the key being




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               turned (ignition turn off) during driving,     Thus none of the solutions
               represents an acceptable business case. (emphasis added)

       35.     In February 2005, GM alerted its dealers, but never Ashlee Loosle, r the public in

general of the risk created by the position of the key switch on the steering column of 2005

Chevrolet Cobalts and 2005 Pontiac Pursuits (the Canadian version of the Pontiac GS) or any of

the 2014 or earlier Chevrolet Spark.

       36.     The February 2005, bulletin addressed the potential for drivers of these vehicles

to inadvertently turn off the ignition due to low key ignition cylinder torque effort – Ashlee's

2013 Chevrolet Spark had the same safety related defects.

       37,     ln    the    February     2005,    bulletin,    GM      provided     the    following

recommendations/instructions to its dealers - but not to Plaintiff or the public in general:

               There is potential for the driver to inadvertently turn off the ignition due to
               low key ignition cylinder torque/effort. The concern is more likely to
               occur if the driver is short and has a large heavy key chain.

               In the cases this condition was documented the driver's knee would
               contact the key chain while the vehicle was turning. The steering column
               was adjusted all the way down. This is more likely to happen to a person
               that is short as they will have the seat positioned closer to the steering
               column.

               In cases that fit this profile, question the customer thoroughly to determine
               if this may the cause. The customer should be advised of this potential
               and to take steps, such as removing unessential items from their key
               chains, to prevent it.

               Please follow this diagnosis process thoroughly and complete each step. If
               the condition exhibited is resolved without completing every step, the
               remaining steps do not need to be performed.

        38.     GM's knowledge of this condition and the circumstances under which it could

occur was concealed from Chevrolet Spark owners and operators including Ashlee Loosle.

        39.     GM also failed to advise the public, its dealers, or its customers of the dangers

that then existed with the Chevrolet Spark and instead concealed the defect and its


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corresponding dangers from not only its own dealers but the public at large and all Chevrolet

Spark owners and operators, including Ashlee Loosle, although GM was well aware that the

Chevrolet Spark suffered from the same safety defects related to the key and ignition switch

function and placement.

        40.     49 C.F..R. § 573.6 requires; inter alia, that automobile manufacturers furnish a

report to the NHTSA (National Highway Transportation Safety Administration) for each

defect ... related to motor vehicle safety.''

        41.     At the latest, by February 2005 GM had a legal duty as set forth above to disclose

the safety related defects that existed in the Chevrolet Spark and Chevrolet Cobalt vehicles to the

NHTSA (National Highway Transpm1ation Safety Administration).

        42.     This legal duty was ignored by GM who instead elected to fraudulently conceal

the defect existing in the key and ignition switch function and placement from the public,

including the Plaintiff.

        43.     GM not only concealed the existence of this defect from the public, it continued

to manufacture and sell Chevrolet Spark and Cobalts with the same safety defects; including the

2013 model year vehicle that Ahlee was operating at the time of her brain injury, back injuries

and other injuries described below.

        44.     In March of 2005, Jack Weber, a GM engineer, in response to a customer

complaint, tested a Chevrolet Cobalt with the same ignition mechanism Ashlee was operating at

the time of her crash - Mr. Weber's investigation as set forth in an email stated:

                I've had a chance to drive a Cobalt and attempt to turn off the ignition
                during heel/toe down shifting. Much to my surprise. the first time I turn it
                off the ignition switch was during a normal traffic brake application on I-
                96. After that I was able _to do a static reproduction of the condition in a
                parking lot. See attached photos of the condition with comments. My
                Anthropometric Measurements are attached below:


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               Attached below is documentation of a RAMSIS study performed to
               attempt to duplicate the real world condition.

               Please call at (586) 986-#### with questions.

               Jack Weber (emphasis supplied)

       45, Despite clear evidence of dangerous defects existing within the key and ignition

switch system as of March 2005, GM did not elect to adopt any of the proposed solutions

broached earlier and instead chose to simply advise customers to remove excess materials from

their key rings.

       46.     GM knew that removal of excess material from key rings alone would not remedy

the dangerous defect existing within the key and ignition switch system and indeed their own

analysis had fully revealed the same.

       47.     In response to a second complaint in May of 2005, GM decided to redesign the

key to now reduce the possibility of inadvertent transfers of the key in the Saturn Ion and sister

vehicles from the run to the accessory/off position during driving.

       48.         Notwithstanding their apparent decision to adopt this change, GM never followed

through and in fact never modified the key design nor informed the public, including the Ashlee

Loosle of the vehicle's serious and ever present safety risk.




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       49.     A 2005 statement by Alan Adler, GM's Manager, Production Safety

Communications, issued a statement as to the Chevrolet Cobalt's tendency to experience an

engine shut down during normal operation which was clearly and materially false and misleading

- the statement is as follows:

               In rare cases when a combination of factors is present, a Chevrolet Cobalt
               driver can cut power to the engine by inadvertently bumping the ignition
               key to the accessory or off position while the car is running.

               When this happens the Cobalt is still controllable. The engine can be
               restarted after shifting to neutral.

               GM has analyzed this condition and believes it may occur when a driver
               overloads a key ring, or when the driver's leg moves amid factors such as
               steering column position, seat height and placement. Depending on these
               factors, a driver can unintentionally turn the vehicle off.

               Service advisers are telling customers they can virtually eliminate this
               possibility by taking several steps, including removing non-essential
               material from their key rings.

               Ignition systems are deigned to have "on" and "off' positions; and
               practically any vehicle can have power to a running engine cut off by
               inadvertently bumping the ignition from the run to accessory or off
               position.

        50.    Adler's and GM's statement set forth above is completely belied by the

experience GM had already at that point, including the operation of a vehicle by its own

engineers which demonstrated that removing materials from key rings alone would not eliminate

or even virtually eliminate the risk of the engine shutting down during normal operation.

        SI.   ln July 2005, a 16 year old girl operating a 2005 Cobalt was killed when she

drove off the road and struck a tree - her driver;s side airbag did not deploy and she died from

injuries sustained in the crash.




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        52.    GM received notice of this event and began an internal investigation and

determined that at the time of the crash, the Cobalt's key was in the accessory/off position and

that the driver's side front airbag should have deployed but did not.

        53.    The operator of that vehicle, Amber Rose, by and through her estate, is believed

to have entered into a confidential settlement agreement with GM.

        54.    Another damning email was authored by John Hendler, a GM engineer, in

September of 2005 which provided as follows:

               I wanted to close the loop on the Electrical SMT's attempt to bring a new
               ignition switch design to the Delta/Kappa vehicles for MY 08. As the
               VSE for the Cobalt launch l am very aware of an issue with "inadvertent
               ignition offs1' due to the low mounted ignition in the steering column and
               the low efforts required to rotate the ignition.

               A new, more robust, increased effort design is currently being
               implemented on the GMT 191 program of MY 07. My intention was to
               bring this part number common design to the Delta/Kappa vehicles for
               MY08. I attended an X Vapir with the Delta team to review the pros/cons
               of this change. The con of the change ls that the piece cost of the ignition
               switch went up around $0.90 and would require $400K in tooling to add
               the almost 5OOK in volume.

               At the X Vapir my team was challenged to offset the piece cost with
               warranty savings and/or reduced PC/Inv, I worked through Purchasing
               with Stoneridge Poliak to gain the reductions. Stoneridge Poliak was
               unwilling to budge on their PC/Inv. The warranty offset for the new
               switch is in the $0.10 - 0.15 range.

               It was felt by the Delta team that the revision of the slot in the ignition key
               to a hole would significantly reduce the inadvertent offs and make any
               additional changes.

               Consequently 1 the ignition switch for the Deltas and Kappas will remain
               the carryover single detent switch until the piece cost hit can be eliminated
               or significantly reduced. My plan is to resource this switch design for MY
               09 and make it available for the Deltas Kappas, and the 19X families.

        55.    This email demonstrates GM1s knowledge as of September 28, 2005 that the

ignition keys in the Chevrolet Spark and other related vehicles were being turned off because of

their
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location and the low detent force required - that it recognized the need to change the system but

refused to do so until the cost could be absorbed.

       56.     In December of 2005, GM issued Technical Service Bulletin (TSB) 05-02-35-

007.

       57.     The TSB which GM represented applied to inter alia, 2003 - 2006 Saturn Ions

provided, 'Information on inadvertent Turning of Key Cylinder, Loss of Electrical System and

no DTCs'1 and provided in pertinent part as follows:

               There is potential for the driver to inadvertently turn off the ignition due to
               low ignition key cylinder torque/effo1t.

               The concern is more likely to occur if the driver is short and has a large
               and/or heavy key chain. In these cases, this condition was documents and
               the driver's knee would contact the key chain while the vehicle was
               turning and the steering column was adjusted all the way down. This is
               more likely to happen to a person who is short, as they have the seat
               positioned closer to the steering column.

               In cases that fit this profile question the customer thoroughly to determine
               if this may the cause, The customer should be advised of this potential
               and should take steps to prevent it - such as removing unessential items
               from their key chain.

               Engineering has come up with an insert for the key ring so that it goes
               from a "slot" design to a hole design. As a result, the key ring cannot
               move up and down in the slot any longer - it can only rotate on the hole.
               In addition, the previous key ring has been replaced with a smaller, 13 mm
               (0.5 in) design. This will result in the keys not hanging as low as in the
               past.




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       58.     The referred to change from a "slot" design to a "hole" design is illustrated below.




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       59.     Like its predecessor statements regarding the defective vehicles, the information

provided in this TSB was false and misleading.

       60.     GM's technical statements issued before the TSB never represented that short

drivers or heavy key chains were the causes for the incidents that were occurring in the vehicles.

       61.     Instead, at the time the TSB was issued, GM knew that inadvertent transfers of the

key in the involved vehicles from the run to the accessory/off position were being experienced

by drivers of all sizes using keys with standard key fobs.

       62.     GM, in other words1 knew the incidents were not caused by short drivers with

heavy key chains but instead were the result of the safety related defects in the key/ignition

system of, inter alia, the Chevrolet Spark.

       63.     Although GM never made the public aware of this activity, it had begun

purchasing back Cobalts from certain customers who were experiencing engine stalling incidents

as early as 2005 - some vehicles were purchased back by GM from the customers while others

who had also experienced stalling incidents did not have their cars repurchased by GM and in


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fact, many of the customers who experienced engine stalling incidents were never informed by

GM of the existence of or the availability of the key insert described above - neither Ashlee nor

any owner or other operator of the Chevrolet Spark involved in this occurrence was advised of

the buy­ back arrangement GM had made with some Cobalt and other sister cars owners because

of the ignition defect which is the subject of this lawsuit.

        64.    On November 17, 2005, an incident occurred in Baldwin, Louisiana involving a

2006 Chevrolet Cobalt which left the road and struck a tree. The frontal air bags did not deploy

in this collision and GM, after receiving notice of the occurrence, referred to it as the "Colbert"

incident.

        65.     On February 10, 2006, a 2005 Chevrolet Cobalt flew off the road and struck a

light pole in Lanexa, Virginia - as in the Colbert incident described above) the frontal airbags

failed to deploy and the download of the SOM (so-called ''black box") showed that the key was

in the accessory/off position at the time of the crash - after receipt of notice of this occurrence

GM opened a file and referred to as the "Carroll" incident.

        66.     In Frederick, Maryland on March 14, 2006, yet another 2005 Chevrolet Cobalt

traveled off the road, struck a utility pole with non-deployment of the frontal airbags - the

download of the SDM in this crash showed that the key was in the accessory/off position - GM

referred to this as the "Oakley'' incident.

        67.     In February 2014, Defendant GM wrote to NHTSA regarding Recall No. 13454

and acknowledged for the first time that changes had been made to the ignition switches in the

defective vehicles for and during the 2007 model year.




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       68.     GM's letter represented that on April 26, 2006, the GM design engineer

responsible for the Chevrolet Cobalt ignition switch signed documents approving changes to the

ignition switch proposed by the supplier, Delphi Mechatronics.

       69.     GM also related that changes incorporated and approved by GM in 2007 included

the use of a new detent plunger and spring that increased the torque force in the ignition switch

the GM design engineer identified by GM in the 2014 letter was Ray DeGiorgio.

       70.      Mr. DeGiorgio did in fact execute a "General Motors Commodity Validation

Sign-Off' dated April 26, 2006 approving the ignition switch change referred to above yet at no

time prior to February 24, 2014 did GM disclose to the driving public or anyone for that matter

that the ignition switch had been changed in an effort to address the obvious defect that existed.

       71.      On August l, 2006, GM opened another PRTS following a customer complaint

about a Chevrolet Cobalt's stalling while driving but closed this PRTS on October 2; 2006

without taking any action.

       72.      In October of 2006, GM also updated TSB 05-02-35 007 to include the following

model years: 2007 Saturn Ion and Sky, 2007 Chevrolet HHR, 2007 Chevrolet Cobalt and 2007

Pontiac Solstice and GS - these vehicles had the same safety related defects in the key system as

the vehicles in the original TSB.

        73.     On December 29, 2006 in Sellenville, Pennsylvania; a 2005 Chevrolet Cobalt left

the roadway and struck a tree with frontal airbag non-deployment - GM upon receipt of notice of

this incident, opened a file referring to it as the "Frei" incident.

        74.     On February 61 2007, in Shaker Township, Pennsylvania, a 2006 Chevrolet

Cobalt left the roadway and struck a truck with frontal airbag non-deployment - the download of




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the SDM showed the key was in the accessory/off position and upon notice of this incident, GM

opened a file referring to it as the "White'' incident.

        75.     In August of 2007; GM met with its Sensing and Diagnostics Module (SOM)

supplier, Continental, to review SOM data from a crash of a 2005 Chevrolet Cobalt where the

airbags failed to deploy.

        76.     On August 6, 2007, in Cross Lanes, West Virginia, a 2006 Chevrolet Cobalt rear-

ended a truck with frontal airbag non-deployment - upon notice of this incident, GM opened a

file referring to it as the "McCormick" incident.

        77.     In September 2007; the Chief of the Defect Assessment Division within the

Office of Defects Investigation ("OD1") of the NHTSA emailed other OD1 officials and

proposed an investigation of "frontal air-bag non-deployment (sic) in the 2003 - 2006 Chevrolet

Cobalt/Saturn Ion." This email went on to state that that the:

                ... issue was promoted by a pattern of reported non-deployments in VOQ
                [Vehicle Owners' Questionnaire] complaints that was first observed in
                2005. Since that time, [the Defects Assessment Division] has followed up
                on the complaints, enlisted the support of NCSA 's Special Crash
                Investigation (SCI) team, discussed the matter with GM, and received a
                related EWD Referral. Notwithstanding GM's indications that they see no
                specific problem pattern, DAD perceives a pattern of non-deployments in
                these vehicles that does not exist in their peers....

        78.     The foregoing email shows that as of September 2007, GM was deliberately

misleading the NHTSA and its office of defects investigators as to the pattern of and existence of

defects existing in the key system of the vehicles referred to above - a clear violation of federal

law.

        79.     On September 25, 2007, in New Orleans, Louisiana, a 2006 Chevrolet Cobalt lost

control and struck a guardrail with frontal airbag non-deployment GM received notice of this

incident and opened a file referring to it as the "Gathe" incident.


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       80.     On October 16, 2007, in Lyndhurst, Ohio, a 2006 Chevrolet Cobalt traveled off

the road and struck a tree with frontal airbag non-deployment - GM received notice of this

incident and opened a file referring to it as the "Breen" incident.

       81.     On April 5, 2008, in Sommerville, Tennessee, a 2006 Chevrolet Cobalt traveled

off the road and struck a tree with frontal airbag non-deployment -- a download of the SDM

showed the key was in the accessory/off position - GM received notice of this incident and

opened a file referring to it as the "Freeman" incident.

       82.     On May 21, 2008, in Argyle, Wisconsin, a 2007 G5 traveled off the road and

struck a tree with frontal airbag non-deployment - a download of the SDM showed the key was

in the accessory/off position - GM received notice of the incident and opened a file referring to it

as the "Wild" incident.

       83.      On May 28, 2008, in Lufkin, Texas, a 2007 Chevrolet Cobalt traveled off the road

and struck a tree with frontal airbag non-deployment GM received notice of the incident and

opened a file referring to it as the "McDonald0 incident.

        84.     On September 13, 2008, in Lincoln Township, Michigan, a 2006 Chevrolet

Cobalt traveled off the road and struck a tree with frontal airbag non-deployment - GM received

notice of the incident and opened a file refering to it as the 'Harding" incident.

        85.     On November 29, 2008, in Rolling Hills Estates; California, a 2008 Chevrolet

Cobalt traveled off the road and struck a tree with frontal airbag non-deployment GM received
                                                                                     M




notice of the incident and opened a file referring to it as the "Dunn" incident.

        86.     On December 61 2008, in Lake Placid, Florida, a 2007 Chevrolet Cobalt traveled

off the road and struck a utility pole with frontal airbag non deployment - a download of the




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SDM showed the key was in the accessory/off position - GM received notice of the incident and

opened a file referring to it as the "Grondona" incident.

       87.     In February of 2009, GM opened yet another PRTS with respect to the defective

vehicles - this time to investigate why the slot in the key for the Chevrolet Cobalts allowed the

key chain to hang too low in the vehicles as well as the inadvertent shutting off of the vehicles.

       88.     Through this PRTS, GM determined that changing the key from a slot to a hole

would significantly reduce the likelihood of inadvertent transfer of the key from the ignition to

the accessory/off position.

       89.     In March of 2009 GM approved the design change in the key from the slot to a

hole and this redesigned key was to have been implemented in 2010 model year Chevrolet

Cobalts. However GM chose not to provide these redesigned keys to owners or lessees of any

of the vehicles previously identified as being implicated in the TSB, including the Chevrolet 2013

Spark operated by Ashlee.




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       90.     The following provides a short overview of important events between 2004 and

the present as set forth above:



     2001-2004            2010-2014
     GM becomes           GM learns of
     increasingly         more field
     aware of and         reports of key
     informed that key    system
     and ignition         failures and
     systems in the       more fatalities
     involved vehicles
     are defective




              2005                2005-2009       2009                             2014
              GM engineers        GM becomes      GM declares    2013              GM issues
              proposed fix        aware of        and emerges    GM                recall
              which is            hundreds of     from           manufactures      (inadequate)
              rejected by GM      field reports   bankruptcy.    the 2013 Chevy    more than 10
                                  of key                         Spark             years after
                                  system                         eventually        becoming
                                  failures and                   purchased by      aware of the
                                  multiple                       Ashlee.           key/ignition
                                  fatalities                                       system defects
                                                                                   in its vehicles
                                                                                   including
                                                                                   many similar
                                                                                   models to
                                                                                   Ashlee's car.



        91.     Throughout the entire time period described in the foregoing illustration, GM was

selling defective vehicles to consumers for full price and consumers were purchasing them




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believing that the vehicles were not defective when all the while GM concealed the extent and

nature of the defects in the various vehicles.

       92.     Prior to its 2009 bankruptcy, GM's Chevrolet website stated as follows:

               OUR COMMITMENT

               Your family's safety is important to us, Whether it's a short errand around
               town or a cross-country road trip, Chevrolet is committed to keeping YOU
               and your family safe-· from the start of your journey to your destination.
               That's why every Chevrolet is designed with a comprehensive list of safety
               and security features to help give you peace of mind. Choose from the safety
               features below to learn more about how they work, and which Chevy
               vehicles offer them.

       93.     GM's print ad campaign features advertisements which included statements

like, "Find New Roads." and pushed the safety features of this new smallest car lineup.

        94.    To increase sales then, GM represented to consumers that they and their families

would be safe in its vehicles.

        95.     When the time came for the company to act in accord with its statements, GM did

not disclose its knowledge about the dangerous key/ignition system defects to its customers it

indeed did not do so for more than a decade after it was aware that the defects not only existed

but was causing injuries and death.

        96.     GM's 2009 bankruptcy lasted about a week after which it emerged from

bankruptcy - before and after the bankruptcy, its vehicles' ignition/key systems failed and

continued to fail and post-bankruptcy GM, just like its predecessor, continued to conceal the

truth from the United States government and the public.




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       97.     On May 161 2009, GM met with Continental again and requested that Continental

download SDM data from a 2006 Chevrolet Cobalt crash where the airbags had not deployed.

       98.     On March 10, 2010, Brooke Melton was driving a 2005 Chevrolet Cobalt in

Paulding County, Georgia, when her key moved from the run to the accessory/off position

causing her engine to shut down - she lost control of the vehicle, traveled into an oncoming lane,

collided with an oncoming car and was killed in the crash.

       99.     On March 22, 2014, Ryan Jahr, a GM engineer, downloaded the SDM from

Brooke Melton's Chevrolet Cobalt and the information showed that the key had turned from the

run to the accessory/off position 3 to 4 seconds before the crash.

       100.    On June 24, 2011, Brooke Melton's parents filed a lawsuit against GM.

       101.    On December 31; 2010, in Rutherford County, Tennessee, a 2006 Chevrolet

Cobalt traveled off the road and struck a tree and experienced frontal airbag non-deployment -

the download of the SOM showed that the key was in the accessory/off position - GM received

notice of this incident and opened a file referring to it as the "Chansuthus0 incident.

       102.    On December 31, 2010, in Harlingen, Texas, a 2006 Chevrolet Cobalt left the

roadway, struck a curb and experienced an airbag non-deployment -- GM received notice of this

incident and opened a file referring to it as the ''Najera" incident.

        103.    On December 18, 2014, in Parksville1 South Carolina, a 2006 Chevrolet Cobalt

left the roadway, struck a tree and experienced frontal airbag non-deployment - a download of

the SDM showed the key was in the accessory/off position - GM received notice of this incident

and opened a file referring to it as the "Sullivan'' incident.

        104. These incidents are not limited to vehicles of model year 2007 and before - GM's

own investigation revealed that there have been over 250 crashes involving 2008 to 2010




                                                   21
Chevrolet Cobalts in which airbags failed to deploy - the key system in the Chevrolet Cobalt is

the same as that in the Chevrolet Spark in which Ashlee crashed.

       105.      A formal investigation of frontal airbag non deployment incidents was begun by

GM in 2010 as to Chevrolet Cobalts and Pontiac GSs - this investigation was later elevated to a

Field Performance Evaluation CFPE").

        106.     In August of 2011, GM assigned Engineer Group Manager, Brian Stouffer

(Stouffer), as the Field Performance Assessment Engineer C'FPAE'').

        107.     In the spring of 2012, Stouffer asked Ashlee Federico ("Federico''),   a   high level

executive and Chief Engineer at GM, to oversee the FPE investigation - Federico was the

"Executive Championu for the investigation to help coordinate resources for the FPE

investigation.

        108.     In May 2012, GM engineers tested the torque on the ignition switches from the

2005 2009 Chevrolet Cobalts, 2007, 2009 Pontiac GS, 2006 - 2009 HHR, and 2003 2007 Ion

vehicles at a junkyard site - results of this testing showed that the torque required to turn the

ignition switches in most of these vehicles from the run to the accessory/off position did not meet

GM's own minimum torque specification requirements including the 2008 - 2009 vehicles. The

results were reported to Stouffer and other members of the FPE,

        109.     In September 2012, Stouffer requested assistance from the "Red X Team11 as part

of the FPE investigation - the Red X Team was a group of engineers within GM assigned to find

the root cause of the airbag non deployments in frontal crashes involving Chevrolet Cobalts and

Pontiac G5s.




                                                 22
       110.    By this time, however, it was clear that the root cause of the airbag non-

deployment in a majority of the frontal crashes was the defective key system - the Red X Team

became involved in the investigation shortly after Stouffer1s request.

        l I 2. During the FPE process, GM determined that although increasing the detent in the

ignition switch would reduce the chance that the key would inadve1tently move from the run to

the accessory/off position, it would not be a total solution to the problem.

       113.    GM engineers in fact identified several additional ways to actually fix the

problem which included adding a shroud to prevent a driver1s knee from contacting the key,

modifying the key and lock cylinder to orient the key in an upward facing orientation when in

the run position and adding a push button to the lock cylinder to prevent it from slipping out of

run•·· GM rejected each and every one of these ideas.

       114.    The photographs below are of a GM engineer in the driver's seat of a Chevrolet

Cobalt during the investigation of Cobalt engine stalling incidents.




        l 15. The photographs reveal the dangerous condition created by the position of the key

in the lock module in the steering column of these vehicles as well as the key slot which allows

the key fob to hang too low off of the steering column which in tum allows the key to be readily



                                                 23
transferred from the run to the accessory/off position especially given the low detent torque

which is the static condition of the key while in the on position.

        116.   These pictures also illustrate why GM engineers understood that increasing the

detent alone would never be a total solution to the problem and in fact recommended additional

changes to ensure an arrangement which would prevent ongoing tragedies involving these

vehicles.

        117.   GM continued to conceal the nature and extent of these defects from the public.

        118.   By 2012, more than a year before Ashlee's car was manufactured, Federico

Stouffer and the remaining members of the Red X Team knew that the key system in the Saturn

Ion, Chevrolet Cobalt and Pontiac G5s similar to Chevy Sparks, had safety related defects that

would cause the key to move from the run to accessory/off position while these vehicles were

being driven - they also knew that when this occurred, the airbags would no longer work in

frontal crashes.


        119.   Federico, Stouffer and other members of the Red X Team also understood that

these safety related defects had caused or contributed to numerous crashes and multiple fatalities

and despite this knowledge, GM chose to conceal the information from Ashlee, the public and the

NHTSA.

        120.       Under the provisions of 49 C.F.R. § 573.6, GM had a duty in 2012 to disclose the

safety related defects in the Saturn Ion, Chevrolet Cobalt and Pontiac GS and Chevy Spark

vehicles - rather than meeting their legal obligations, GM continued to fraudulently conceal

these defects from the public and the United States government.

        121.       In the Melton litigation referred to above, GM representatives have admitted that

vehicles which do not meet minimum torque requirements as to the ignition detent, should never

have been sold •- this includes with similar ignitions to the Chevy Spark driven by Ahslee at the time
                                                  24
of this crash.

        122.     On February 7i 2014, GMi in a letter from Carmen Benavides, Director -- Product

Investigations and Safety Regulations for GM, informed NHTSA that it was conducting Recall

No. 13454 for certain 2005 - 2007 model year Chevrolet Cobalts and 2007 model year Pontiac

GS vehicles•- the recall was announced more than 10 years after GM became aware of the defect

in these and other vehicles which led to the recall.

        I23.     In the foregoing recall letter, GM represented that as replacement ignition

switches became available, GM would replace them on the defective vehicles.

        124.     On February 19, 2014, a request for timeliness query of General Motors' Safety

Recall 13454 was sent to NHTSA - the timeliness query pointed out that GM had failed to recall

all of the vehicles with the defective ignition switches.

        125.     The February 19, 2014 request for timeliness query also asked NHTSA to

investigate GM's failure to fulfill its legal obligation to report the safety related defects tin the

defective vehicles to NHTSA within five (5) days of discovery of the defect.

        126.     On February 24, 2014, GM sent a letter to Ms. Benavidees and informed NHTSA

it was expanding the recall to include 2006 - 2007 Model Year (MY) Chevrolet IUIR and

Pontiac Solstice, 2003 - 2007 MY Saturn Ion and 2007 MY Saturn Sky vehicles.

        127.     On March 28, 2014, GM again expanded the ignition switch recall to cover all

MY's of the Chevrolet Cobalt and HHR, the Pontiac 05 and Pontiac Solstice and the Saturn Ion

and Sky vehicles in the United States - according to reports, this second expansion of the

ignition switch recall covers an additional 824,000 vehicle in the United States bringing the

number of recalled vehicles to 2,191,146.

        128.     In February 2021, Ashlee Loosle received a an appointment reminder Riverton Chevrolet

to bring her car in for an open recall for her 2013 Chevrolet Spark which included ignition rotation


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defects that had been recalled even though they were not currently showing up on the manufacturer's

website.

           129.   Before Ashley purchased the car in 2016, a recall #14V298000 dated in 2014 indicated

that an "improper weld in [her vehicle] the driver and passenger side front airbag inflater may result in the

airbag not deploying or deploying late." Ashlee was never informed of this recall despite the fact that she

owned this car purchased from a known Chevrolet Dealer (Larry H. Miller) without the recall having been

remedied on her vehicle.


        130.      The recalls are both tardy and entirely inadequate to eliminate or effectively

correct the safety defects referred to above in the described vehicle.

        131.      GM has known, and its internal documents reveal that, since at least 2005, that

replacement of the ignition switches alone on the defective vehicles is not a complete solution to

the risk of inadvertent key transfers from the run to the accessory/off position in the defective

vehicles.

        132.      Replacement of the ignition switch alone will not correct or eliminate the design

defect that causes the key chain or fob to hang too low on the steering column.

        133.      Even with replaced ignition switches, the foregoing defective condition would

still exist and continue to allow potential inadvertent contact and the consequent transfer of the

ignition key from the run to the accessory/off position.

        134. In addition, the contemplated recall does nothing towards replacing the defective

keys in the defective vehicles with the key that has been redesigned with a hole instead of a slot

that by its own admission GM contends would reduce the chance of inadvertent transfers of the

key from the run to accessory/off position.

        135.      Neither does the recall address the design defect in the vehicles involved which

causes the airbag to be disabled immediately upon the engine shutting off.

                                                     26
         136.    In spite of GM' s contention that it changed and/or modified the ignition switches

 in some 2007 Chevrolet Cobalts, all of the 2008 - 2010 Chevrolet Cobalts produced non­

 deployment events continue to occur in the later model Chevrolet Cobalts GM's own

 investigation into non•deployment events of Chevrolet Cobalts has identified over 250 airbag

 non deployment crashes involving 2008 -2010 Chevrolet Cobalts these same issues are now

 be expanded to the Chevrolet Spark in notices that are just being issued to customers after

 2020.

         137.     As described above, GM's engineers have long understood that increasing the

 detent in the ignition switch in and of itself was not a solution to the problem but GM

 nonetheless concealed and continues to conceal from the public and the Plaintiff herein, the

 nature and extent of the key system defects which the current recall will not cure.



                      COUNT I – PRODUCT DEFECTSTRICT LIABILITY

          138. Plaintiff incorporates herein by reference A L L Paragraphs of this Complaint as if

fully set forth herein.

         139.     Ashlee Loosle's 2013 Chevrolet Spark was dangerous to an extent beyond which

 would be contemplated by the ordinary and prudent buyer, consumer, or user of that car in the community

 considering the car's characteristics, propensities, risks, dangers, and uses together with any actual

 knowledge, training, or experience possessed by that particular buyer, user, or consumer.

         140. At the time the product was sold by the GM or other initial seller, there was a defect or
 defective condition in Ashlee Loosle's 2013 Chevrolet Spark which made the car unreasonably

 dangerous to the user or consumer.

         141. GM designed, selected, inspected, tested, manufactured, assembled, equipped,

 marketed, distributed and sold Ashlee Loosle's 2013 Chevrolet Spark and its components,

 including but not. limited to equipping it with the key/ignition system.
                                                       27
       142.    GM designed, selected, inspected, tested, manufactured, assembled, equipped,

marketed, distributed and sold the key/ignition system which was selected and installed in

Ashlee Loosle's 2013 Chevrolet Spark.

       143.    GM sold the 2013 Chevrolet Spark more than seven (7) years prior to the filing of

this action, however, any stature of repose or limitation is tolled because of GM's fraud and

fraudulent concealment and conduct equivalent to that required to impose punitive damages

against GM.

        144.   GM had a legal duty to design, inspect, test, manufacture and assemble the 2013

Chevrolet Spark so that it would be reasonably crashworthy and provide a reasonable degree of

occupant safety in foreseeable collisions occurring in the highway environment of its expected

use.

        145.   The manufacturer - GM - of a product - the 2013 Chevrolet Spark - is a

guarantor of its safety.

        146.   Among other things, the 2013 Chevrolet Spark is not crashworthy, is defective and is

unreasonably dangerous and unsafe for foreseeable users and occupants in each of the following

particulars:

               a.          Having a key/ignition system that is inadequately designed and
                           constructed and located which may result in the key moving from
                           the run to the accessory/off position during normal driving
                           operations and maneuvers;




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               b.         Having a key/ignition system that allows the 2013 Chevrolet
                          Spark to stall and/or lose engine power and steering and/or full
                          braking ability while driving;

               c.         Having frontal airbags that do not deploy or deploy late when the
                          key is in the accessory/off position; and

               d.         In failing to adequately warn Ashlee, other consumers or the
                          public in general about the unsafe and defective condition and
                          design of the vehicle known to GM so that an individual like
                          Ashlee could make informed and prudent decisions about riding
                          and/or traveling in or operating such vehicles;

        147.       The unreasonably dangerous condition of the 2013 Chevrolet Spark existed at the time

the car left the control of GM.

        148.       The defective nature of the 2013 Chevrolet Spark which Ashlee was operating

was the legal cause and a substantial factor in causing the damages sustained by Ashlee and her

injuries as set forth herein, thus rendering GM strictly liable.

        149.       In the alternative; Plaintiff alleges the following elements of her strict product

liability claim:

                   a.     The design of the 2013 Chevrolet Spark was defective and unreasonably
                          dangerous;

                   b.     When the design was made, an alternative safer, economically
                          feasible and practicable design, under the circumstances, existed;

                   c.     Plaintiff would not have sustained severe injuries had an
                          alternative, safer design, been used; and

                   d.     Ms. Loosle's injuries were attributable to, and directly and
                          extensively enhanced by, the defective design.

        150. Ashlee Loosle has sustained the following damages proximately caused by the

defective designs outlined above:

                   a.     The cost of medical treatment, services, supplies, hospitalization,
                          and all other medical costs incident to the treatment of Ashlee
                          Loosle;



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                b.        For prejudgment interest on special damages as provided for by Utah law;

                c.        Such other losses and damages as are recoverable by law or statute.

        151.    GM's conduct was knowing, intentional, with malice, demonstrated a complete

lack of care and was in reckless disregard for the rights of and in deliberate indifference to the

well-being of Ashlee Loosle and others similarly situated such that punitive damages are

warranted.

        WHEREFORE, Plaintiff, Ashlee Loosle, hereby seeks damages in an amount in excess

of the jurisdictional limits of this Court, as well as punitive damages.



                                      COUNT II - NEGLIGENCE


        152.    Plaintiff incorporates herein by reference all Paragraphs of this Complaint as if

fully set forth herein.

        153.    Defendant, GM, by virtue of the acts and/or omissions as set forth herein, was

careless, reckless and negligent in designing, inspecting, testing, manufacturing, assembling,

marketing, selling and providing warnings for the 2013 Chevrolet Spark as set forth in the

paragraphs above.

        154.    GM's negligence was the legal cause of the damages sustained by the Plaintiff as

set forth herein.




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         157,   GM1s conduct was knowing 1intentional with malice, demonstrated a complete

 lack of care and was in reckless disregard for the rights of and in deliberate indifference to the

 well-being of Ashlee Loosle and others similarly situated such that punitive damages are

 warranted.

         WHEREFORE1 Plaintiff, hereby seeks damages in an amount in excess of the

 jurisdictional limits of this Court, as well as punitive damages.


                       COUNT III - BREACH OF IMPLIED WARRANTY


         158.    Plaintiff incorporates herein by reference all Paragraphs of this Complaint as

 if fully set forth herein.

         159.    GM breached its implied warranty of merchantability by selling the 2013 Chevrolet

 Spark when it was not fit for the ordinary purpose for which such goods are sold.


         160.    GM's breach of warranty was the legal and/or proximate cause of the damages

 suffered by the Plaintiff and the injures as set forth above.

         161.     GM's conduct was knowing, intentional, with malice, demonstrated a complete

 lack of care and was in reckless disregard for the rights of and in deliberate indifference to the

 well-being of Ashley Loosle and others similarly situated such that punitive damages are warranted.

       WHEREFORE, Plaintiff, hereby seeks damages in an amount in excess of the jurisdictional

limits of this Court, as well as punitive damages.



                 COUNT IV - FRAUD AND FRAUDULENT CONCEALMENT


         162.     Plaintiff incorporates herein by reference all Paragraphs of this Complaint as if

 ful1y set forth herein.


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        163.    GM intentionally concealed material facts from Ashlee Loosle, the public and the

NHTSA.

         164. GM knew that the defective vehicles including the 2013 Chevrolet Spark operated by

 the Plaintiff at the time of the crash were designed and manufactured with key/ignition system defects but GM

 concealed those material facts from the Plaintiff, the public, and NHTSA.

       165.     Although the defective vehicles contained safety related defects that GM knew of

years in advance of the manufacture of the 2013 Chevrolet Spark operated by Ashlee Loosle

and many years in advance of the actual crash which ultimately injured her, GM recklessly

manufactured and distributed the vehicles, including the 2013 Chevrolet Spark involved in this

case, to consumers in the United States.

       166.    The consumers had no knowledge of the safety related defects which the cars

were subject to which GM knew or had reason to know of prior to the sale and manufacture of

the 2013 Chevrolet Spark involved in this occurrence and many years prior to the crash in 2020

which injured Ashlee Loosle.

       173, GM had a duty to disclose the facts to Ashlee, and the public who owned

defective GM cars and the NHTSA but failed to do so in each and every case.

       174.    GM knew that Ashlee had no knowledge of those facts and she did not have an

equal opportunity to discover the facts.

       175.    GM was in the position of superiority as to Ashlee and indeed she trusted GM not

to sell her a vehicle that was defective or violated federal law governing motor vehicle safety.

       176.    Ashlee also further trusted GM to warn her of defects and recall defective

vehicles as and when they became aware of the defects,

       177.     By failing to disclose the material facts of which it was aware, GM intended to

induce Ashlee to both purchase the 2013 Chevrolet Spark and/or continue to use and operate the

                                                   32
vehicle.

       178.        GM further intended to induce the NHTSA to not recall the 2013 Chevrolet Spark

owned by and operated by Ashlee as well as other defective vehicles in order to reduce its

eventual financial exposure.

       179.        Ashlee   reasonably   relied   on GM's     nondisclosure   and    reasonably   but

unknowingly continued to use the 2013 Chevrolet Spark until the date of the crash.

       180.        Ashlee would not have purchased the 2013 Chevrolet Spark had she known of the

defects in the key/ignition system and certainly would not have continued to drive the vehicle

and would not have permitted Ashlee to operate it once they learned of the defect.

       181.        GM reaped the benefit of the sales and leases of defective vehicles as a result of

its nondisclosure to the pubic and to the NHTSA.

       182.        Further, in failing to disclose the key/ignition system defects, GM helped prevent

any meaningful investigation of many crashes that were likely the result of those defects.

           183.    Further, because GM had not placed this matter before NHTSA or the public, cars

and components in those similar wrecks were disposed of without the appropriate and adequate

investigation.

       184.        The injuries Ashlee were a direct and proximate result of the wrongful conduct

and fraudulent concealment of the Defendant.

           185.    As a direct and proximate result of GM's wrongful conduct and fraudulent

concealment, the Plaintiff suffered the damages described herein.

           I 86.    GM' s conduct was knowing, intentional, with malice, demonstrated a complete

lack of care and was in reckless disregard for the rights of and in deliberate indifference to the

wellbeing of Ashlee others similarly situated such that punitive damages are warranted.




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        WHEREFORE, Plaintiff, hereby seeks damages in an amount in excess of the

 jurisdictional limits of this Court, as well as punitive damages.


                                     DEMAND FOR JURY TRIAL

       Plaintiffs demand a trial by jury on all counts and as to all issues.

Dated: June 3, 2022                   Respectfully Submitted,



                                              KELLY H. MACFARLANE, PLLC.



                                              /s/ Kelly H. Macfarlane_________________

                                              Kelly H. Macfarlane (Utah State Bar No. 05213)
                                              205 26th Street, Suite 21
                                              Ogden, Utah 84401
                                              Attorneys for Plaintiffs




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